                     UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF NORTH CAROLINA
                          SOUTHERN DIVISION
                          Case No. 7:21-CR-070-D

                                       )
UNITED STATES OF AMERICA               )
                                        )
v.                                      )        ORDER TO SEAL
                                        )    DOCKET ENTRY NUMBER 31
TERRY WAYNE SHERMAN,                    )
    Defendant.                          )
                                        )



      Upon Motion of the Defendant, it is hereby ORDERED that Docket Entry

Number 31 be sealed until such time as the Court determines that the

aforementioned filing should be unsealed.



      SO ORDERED. This, the _Jj_ day of      Q c-bb.               , 2021.




                                            J   ES C. DEVER III
                                            United States District Judge




       Case 7:21-cr-00070-D Document 33 Filed 10/19/21 Page 1 of 1
